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                                                                            FILED
                                                                         IN C LERK'S OFFICE
  UNITED STATES DISTRICT COURT                                       US DISTRICT COURT E D.N .Y.
  EASTERN DISTRICT OF NEW YORK
                                                                           FEB 12 2020
  ---------------------------------------------------------------x *
  REPLY ALL CORP.,
                                                                : BROOKLYN OFFICE
                            Plaintiff,

                    V.                                                    DECISION & ORDER
                                                                          15-CV-4950 (WFK)(PK)
  GIMLET MEDIA, INC.,

                             Defendant.
  ---------------------------------------------------------------X
  WILLIAM F. KUNTZ, II, United States District Judge: By Amended Complaint filed on
  July 25, 2017 (the "Amended Complaint"), Plaintiff Reply All Corp. ("Plaintiff') brings this
  action against Defendant Gimlet Media, Inc. (" Defendant") alleging ( 1) trademark infringement
  under the Lanham Act, 15 U .S.C. § 1114(1 ); (2) false designation of origin under the Lanham
  Act, 15 U.S.C. § 11 25(a); and (3) reverse confusion under 15 U.S .C. §§ 1114 and 11 25 , and New
  York common law. Defendant moves for summary judgment on all of Plaintiffs claims. For the
  reasons stated below, the Court grants the motion of the Defendant for summary judgment in its
  entirety and dismisses the Amended Complaint.

                           BACKGROUND AND PROCEDURAL HISTORY

           The Court find s the fo llowing facts from the parties' Local Rule 56.1 Statements,

   dec larations, deposition testimony, and other evidence submitted in support of the motion, to be

   undisputed or construed in the light most favorable to Plaintiff, the non-moving party. Where

   facts in a party's Rule 56. 1 Statement are supported by citations to evidence and denied by

   conclusory statements w ithout citations to conflicting evidence, the Court finds such facts to be

   true. E. D.N.Y. Local Rules 56.l(c)- (d).

           Plaintiff, a Delaware Corporation, was incorporated in 20 12 by co-founders Zachariah

   Abramowitz and Ari Gold. Pl. Statement of Facts,~~ 1- 3, ECF No. 92- 1 ("Pl. St."). Plaintiff

   provides a software service "through which users can create and share publicly available

   conversations." Pl. St. ~~ 1-4. Defendant is a media company producing podcasts, including

   one titled Reply All. Pl. St. ~ 15; Def. Statement of Facts, ~~ 3- 9, ECF No . 155-2 ("Def. St.").
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         On August 27, 2013, Plaintiff registered the_trademark "ReplyAll" ("Plaintifrs Mark")

  for "computer services, namely, creating an on-line community for registered users to form

  groups and create publicly viewable conversations where group members are the only

  individuals who can contribute to the conversations." REPLYALL, Registration No. 4391220.

  Plaintiff offers its service from its own website, ReplyAll.me. Pl. St. ,I 3. Plaintifrs primary

  focus shifted, however, towards providing software to allow external established websites to

  publish conversations. Id. ,I 6.

         Unaware of the existence of Plaintiffs trademark or company, podcast hosts working for

  Defendant named their new podcast Reply All in the fall of 2014. Def. St. ,I,I 7-8. The podcast

  hosts selected the name for two reasons: first, the connection to the Internet and second, th~

  intention to connect each episode of the podcast to the Internet. Def. St. t,I 3, 9. On Noveqiber

  6, 2014, Defendant published its first-Reply All podcast episode. Pl. St. t 16; Def. St. ,I 6.

  Defendant's advertising for the podcast included a logo incorporating the name. Pl. St. ,I 3p;

  Def.'s Combined Mem. of Law in Supp. of Mots. for Summ. J. of No Infringement Liability and

  No Damages, 23-24, ECF No. 88-1 ("Def. Mem.").

         After selecting the name Reply All, Defendant searched the United States Patent and

  Trademark Office ("USPTO") records and found Plaintiffs mark, ReplyAll, registered only for

  software. Def. St. 1 10. Defendant sought the advice of counsel, who indicated the use of

  "Reply All" as the name of a podcast would not infringe on Plaintifrs rights. Id.    ,r 11.
  Nonetheless, in December of 2014, Defendant contacted Plaintiff and began negotiating a

  potential licensing agreement. Pl. St. tt 42-63. Negotiations collapsed and the parties failed to

  reach a licensing agreement. Id.   ,r 62.



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          Defendant then sought to register a trademark with the USPTO. Def. St. ,r 12. The

   USPTO issued a registration to Defendant for the REPLY ALL mark ("Defendant's Mark") for

  "entertainment services, namely, providing podcasts on the subject of the internet." REPLY         i




  ALL, No. 4817504. In December 2016, Defendant changed the logo of its podcast to a new

  logo, continuing to incorporate Defendant's Mark. Pl. St. ,r 37.

          Plaintiff filed suit against Defendant on August 24, 2015. Defendant now moves for

   summary judgment against all claims arguing it is entitled to judgment as a matter of law

  asserting there are no genuine disputes regarding any material facts in this case. Plaintiff has

  cross-moved for summary judgment on the issue of damages. The Court denies the cross motion

  of the Plaintiff for the reasons stated below.

                                         LEGAL STANDARD
          Summary judgment is appropriate where the movant establishes there exists no genuine

  issue as to any material fact, and the movant is entitled to summary judgment as a matter of ~aw.

  Fendi Adele, S.R.L. v. Ashley Reed Trading, Inc., 501 F. App'x 26, 29 (2d Cir. 2013). "A fa~t is

   'material' ifit 'might affect the outcome of the suit under the governing law,' and it is 'gen~nely

  in dispute' if 'the evidence is such that a reasonable jury could return a verdict for the

  nonmoving party."' WIZKIDSINECA, LLC v. Till Ventures, LLC, 17-CV-2400 (RA), 2019 WL

   1454666, at *3 (S.D.N.Y. Mar. 31, 2019) (Abrams, J.) (quoting Roe v. City of Waterbury, 542
                                                                                                 I

  F.3d 31, 35 (2d Cir. 2008)). In deciding a motion for summary judgment, the Court must

  "construe the facts in the light most favorable to the non-moving party and must resolve all

  ambiguities and draw all reasonable inferences against the movant." Brodv. Omya, Inc., 653

  F .3d 156, 164 (2d Cir. 2011 ). The movant has the burden of showing the absence of a disputed

  issue of material fact, after which the burden shifts to the nonmoving party to present specific



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   evidence showing a genuine dispute. See Brown v. Eli Lilly & Co., 654 F.3d 347,358 (2d Cir.

   2011).

                                              DISCUSSION

            Plaintiff asserts claims of trademark infringement and false designation under Sections 32

   and 43 of the Lanham Act. Section 32(l)(a) prohibits any person from using in commerce "any

  reproduction, counterfeit, copy, or colorable imitation of a registered mark in connection

   with ... goods or services on or in connection with which such use is likely to cause confusion,

   or to cause mistake, or to deceive." 15 U.S.C. § 1114(l)(a). Section 43 similarly prohibits any

  person from using, in connection with any goods or services, "any false designation of origin,

   false or misleading description of fact, or false misleading representation of fact," likely to cause

   confusion, mistake, or deception as to "the affiliation, connection, or association," or as to "the

  origin, sponsorship, or approval" of the goods and services of another person. 15 U.S.C. §

   1125(a)(l). Because Defendant does not contest the validity of Plaintiffs Mark, the dispute

  turns on whether Defendant's use of Defendant's Mark is likely to confuse consumers about the

  source of its product. Def. Mem. at 13-14.

            To prevail on a claim for trademark infringement under either Sections 32 or 43 of!the

  Lanham Act, Plaintiff must show ( 1) it has a valid trademark entitled to protection, and (2)

  Defendant's use of the mark is likely to cause consumer confusion. See Excelled Sheepskin &

  Leather Coat Corp. v. Oregon Brewing Co., 897 F.3d 413,417 (2d Cir. 2018). The Lanham Act

  pro.tects against both "direct" and "reverse" confusion. Id; Lanham J. T. Colby & Co. v. Apple

  Inc., 586 F. App'x 8, 9 (2d Cir. 2014). Direct confusion is the likelihood consumers will ,
                                                                       I




  "believe that the trademark owner sponsors or endorses the use of the challenged mark," while

  reverse confusion is the likelihood consumers will "believe that the junior user is the source of



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   the senior user's goods." Kelly-Brown v. Winfrey, 717 F.3d 295,304 (2d Cir. 2013) (citations

   and internal quotations omitted). Plaintiff, as the senior user, brings claims under both theories

   of confusion against Defendant, the junior user. Am. Compl. at 23-33, ECF No. 71.

       I.      The Polaroid Factors

            In assessing the likelihood of consumer confusion, courts in the Second Circuit apply the

   eight-factor balancing test set forth in Polaroid Corp. v. Polarad Elecs. Corp., 287 F.2d 492,495

   (2d Cir. 1961 ). The factors are:

            (1) strength of the trademark; (2) similarity of the marks; (3) proximity of the
            products and their competitiveness with one another; (4) evidence that the senior
            user may "bridge the gap" by developing a product for sale in the market of the
            alleged infringer's product; (5) evidence of actual consumer confusion; (6)
            evidence that the imitative mark was adopted in bad faith; (7) respective quality of
            the products; and (8) sophistication of consumers in the relevant market.

   Starbucks Corp. v. Wolfe's Borough Coffee, Inc., 588 F.3d 97, 115 (2d Cir. 2009). No single

   factor is determinative as the "application of the Polaroid test is 'not mechanical, but rather,

   focuses on the ultimate question of whether, looking at the products in their totality, consumers

   are likely to be confused.'" Id. (quoting Star Indus., Inc. v. Bacardi & Co. Ltd, 412 F.3d 373,

   384 (2d Cir. 2005)). Under the Polaroid factors, the Court concludes there is no likelihood of

   confusion. Each Polaroid factor is addressed in tum.

               A. Strength of the Trademark

            The strength of a mark measures "its tendency to identify the goods sold under the ~ark

  as emanating from a p~icular, although possibly anonymous, source." Lexington Mgmt. Corp.

   v. Lexington Capital Partners, 10 F. Supp. 2d 271, 278 (S.D.N.Y. 1998) (Preska, J.) (intemijl

   quotations marks omitted). In analyzing this factor, courts consider the inherent _distinctiveness

  of the mark, based on its characteristics and any acquired distinctiveness in the marketplace.

  Akiro LLC v. House of Cheatham, Inc., 946 F. Supp. 2d 324, 333 (S.D.N.Y. 2013) (Rakoff, ~.);

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  Paco Sport, Ltd. v. Paco Rabanne Parfums, 86 F. Supp. 2d 305, 311-12 (S.D.N.Y. 2000)

  (Sprizzo, J.). As to inherent distinctiveness, courts classify a mark into one of four categories,

  each considered stronger than the one before: "(l) generic, (2) descriptive, (3) suggestive, and

  (4) arbitrary or fanciful." Abercrombie & Fitch Co. v. Hunting World, Inc., 537 F.2d 4, 9 (2d

  Cir. 1976). A registered trademark is presumptively distinctive. See Lane Capital Mgmt., Inc. v.

  Lane Capital Mgmt., Inc. 192 F.3d 337, 345 (2d Cir. 1999) ("Registration by the PTO without

  proof of secondary meaning creates the presumption that the mark is more than merely

  descriptive, and, thus, that the mark is inherently distinctive."); Lois Sportswear, U.S.A., Inc. v.

  Levi Strauss & Co., 799 F.2d 867,871 (2d Cir. 1986). But even if the mark is registered, the

  right to use it is limited to the goods and services specified in the registration certificate. 15

  U.S.C. §§ l l 15(a), (b).

          In this case, Plaintiffs Mark is for use on "computer services, namely, creating an on-line

  community for registered users to form groups and create publicly viewable conversations wpere

  group members are the only individuals who can contribute to the conversation." REPLYALL

  Registration, No. 4391220. In contrast, Defendant's Mark is for use in "entertainment services,

  namely, providing podcasts on the subject of the internet." REPLY ALL Registration No.

  4817504.

          The Court finds Plaintiffs Mark falls into the category of"suggestive." The USPTO's
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  decision to register Plaintiffs Mark without requiring proof of secondary meaning "affords a

  rebuttable presumption that the mark is suggestive or arbitrary or fanciful." Abercrombie &

  Fitch, 537 F.2d at 11. Though Plaintiffs Mark is registered with the USPTO, the Court does not

  find Plaintiffs Mark to rise to the level of arbitrary or fanciful. Plaintiffs Mark is classified as

  "suggestive" rather than "arbitrary or fanciful" because the term "reply all" is a term in common



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   use. In evaluating the strength of Plaintiff's Mark, this Court finds Plaintiff's Mark is "at best                   I




   moderately strong." Star Indus., 412 F.3d at 385.

           Plaintiff's lack of sales, 1 marketing expenditures,2 and general absence from the

   marketplace3 demonstrate a lack of commercial strength Nora Beverages, Inc. v. Perrier Grp. of

  Am., Inc., 269 F.3d 114, 123 (2d Cir. 2001) (finding the plaintiff's mark weak due to "its low

   level of commercial success and small advertising budget relative to market competitors").
                                                                                       i




   Moreover, "Reply All" is the federally registered trademark of third party individual Donna

   Lewis. Def. Mem. at 21. Ms. Lewis, like Gimlet Media, uses her mark in connection with

  "entertainment services." Def. Mem at 21; Pl.' s Mem. of L~w in Opp. to Def.' s Mot. for Summ.

   J. at 19-20 ("Pl. Mem."). Notably, the USPTO permitted Defendant's "Reply All" application to
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   proceed to registration without reference to potential confusion with Ms. Lewis's or Plaintiff's'

  already registered marks. See REPL YALL Registration, No. 4391220; REPLY ALL

   Registration No. 4817504; Def. Mem. at 5; Pl. Mem. at 20.

           Moreover, the term "reply all" is a term in common use and is readily recognized by

   anyone who uses email. Indeed, the "reply all" email command inspired Plaintiff's software and
                                                                                                                    I




   its adoption of the ReplyAll mark and double-arrow logo. Def. Mem. at 15. Thus, Plaintiff's

  mark is suggestive but weak in the market for computer services. Accordingly, this factor

  weighs in favor of Defendant.




  1
    Plaintiff made $0.00 in 2012 and 2013, and $2,000.00 in 2014. Abramowitz Dep. 209:9-210:5, ECF No. 87-4
  ("Abramowitz Dep."). Plaintiff has made no sales of premium subscriptions in the United States. Id 211:4-212:23.
  Plaintiff makes no revenue from advertising. Id 213:5-213:7.
  2 Plaintiff has "no advertising and marketing budget to speak of." Id 262:23-264:15.                          i




  3
    Particularly during the Plaintifrs period of non-existence between March l, 2017 and December 3, 2019 ~hen
  Plaintiff allowed its corporate existence to lapse for failure to pay fees. Defendant Gimlet's Local Rule 56.1
  Statement in Sup. of its Mot. for Summ. J., ,I 2, ECF No. 155-2; Plaintifrs Response to Defendant's Local ~ule 56.1
  Statement, ~ 2, ECF No. 158-1.                                               1



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              B. Similarity of the Marks

          The second Polaroid factor concerns the similarity of Plaintiffs Mark, ReplyAll, and

   Defendant's Mark, REPLY ALL. In analyzing this factor, "courts consider whether the

   similarity of the marks is likely to cause confusion among potential customers." Arrow Fastener

   Co. v. Stanley Works, 59 F.3d 384, 394 (2d Cir. 1995). Side by side comparisons are

   insufficient. See Universal City Studios, Inc. v. Nintendo Co., 746 F.2d 112, 117 (2d Cir. 1984)

   ("[J]uxtaposing fragments of each mark does not demonstrate whether the marks as a whole are

   confusingly similar."). Similarity is a holistic consideration turning on the overall impression

   created by the marks, considering the contexts in which they appear and the totality of the

   circumstances. Gruner+ Jahr USA Publ'g v. Meredith Corp., 991 F.2d 1072, 1078 (2d Cit.

   1993); see also Lemme v. Nat'[ Broad. Co., 472 F. Supp. 2d 433,448 (E.D.N.Y. 2007)

   (Hurley, J.) (finding show titles "American Dreams" and "AMERICAN DREAM" not

   confusingly similar because of differences in color and typeface, the prominent display of the
                                                                                                 I




   distinctive NBC logo· with defendant's title, and defendant's national distribution versus

  plaintiffs' local cable distribution); Declemente v. Columbia Pictures Indus., Inc., 860 F. Supp.

   30, 48 (E.D.N.Y. 1994) (Spatt, J.) (finding "Karate Kid" marks not confusingly similar

  "[b]ecause the marks. are used for different purposes and are presented to the public differently,

  even though they say the same thing").

          Although the contested trademarks in the present case both include the words "reply all,"

  the trademarks are not identical, and several distinguishing features reduce the likelihood <;>f

  confusion. Plaintiffs "ReplyAll" l9go is presented in light blue font, accompanied by a double

  arrow logo pointing to the right, and includes, underneath it, a tagline, "conversations as




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  content." Def. Mem. at 24. In contrast, Defendant's old "Reply All" logo is in blue font, 4

  includes a double arrow logo pointing to the left, with a tagline, "A Show About the Internet.'"

  Id. Moreover, potential consumers view the trademarks in different contexts. While Plaintiffs

  Mark is for publishing software, Pl. St. 113-6, Defendant's Mark is for a journalistic podcast,

  Def. St. 113-4. Thus, the parties' marks ar~ used for different purposes and are presented

  differently to the public. Although the marks have visual and aural similarities, because of the

  distinctions in the products they represent, their logos, and market appeal, the Court finds this

  factor favors Defendant. The marks are not similar enough to cause confusion among potential

  consumers.

                  C. Competitive Proximity

             Competitive proximity applies "to both the subject matter of the commerce in which the

  two parties engage and the geographic areas in which they operate." Guthrie Healthcare Sys. v.

  ContextMedia, Inc., 826 F.3d 27, 39 (2d Cir. 2016). In analyzing this factor, courts consider

  differences in content, geographic distribution, market position, and market appeal. Paco Sport,

  86 F. Supp. 2d at 316.

             Plaintiff argues its ReplyAll online conversation platform and Defendant's Reply All

  podcast are in "highly related areas of commerce and geographic proximity." Pl. Mem. at 22.

  Plaintifrs Reply All product is software used by consumers to publish group, text-based content

  on webpages. Pl. St. 114--6. Defendant's primary business is "the production and monetizftion
                                                                                                   I




  of podcasts." Def. Mem. at 25. Defendant's podcasts, including Reply All, are available fot
                                                                                                   !

  streaming and download on various platforms, e.g., SoundCloud, Spotify, and iTunes. Id.




  4
      Plaintiff avers Defendant's old logo is the allegedly infringing mark. See Pl. Mem. at 22.

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   Defendant's services, unlike Plaintifrs, are not web-based; they do not require consumers to

   open a web browser or visit a webpage. Def. Mem. at 4.

           Plaintifrs and Defendant's products do not directly compete, nor do they serve a similar

   purpose, or appear in the same channels of commerce. J. T. Colby & Co. v. Apple~ Inc., 586 F.

   App'x. 8, 10 (2d Cir. 2014). The USPTO approved registration of Defendant's Mark for
                                                                        1




   "entertainment services, namely, providing podcasts on the subject of the internet" despite

   Plaintiffs existing registration of its mark for "computer services, namely, creating an on-line

   community for registered users," suggesting the marks operate in sufficiently distinct markets

   and are unlikely to be confused for one another. Murphy Door Bed Co. v. Interior Sleep Sys.,

   Inc., 874 F.2d 95, 101 (2d Cir. 1989) (holding the decision of the USPTO "is to be accorded

   great weight").

           There is significant competitive distance between Plaintiffs software and the production

   and monetization of Defendant's podcast business. An individual searching for conversation-
                                                                                                 I

   enhancing software is unlikely to be confused by the existence of a podcast bearing the same

   name.

              D. Bridging the Gap

           The "bridging the gap" factor examines the probability the senior user will enter the

   junior user's market or consumers perceive such an overlap as probable. Star Indus., Inc., 412

   F.3d at 387; Paco Sport, 86 F. Supp. 2d at 318. This factor intends to protect the senior user's

   future interest in entering a related field, but is irrelevant when the products compete withieach

   other. Starbucks Corp., 588 F.3d at 115. "In analyzing this factor, the courts have defined the

   junior user's market narrowly, using such parameters as price range, target clientele, and

   distribution channels." Paco Sport, 86 F. Supp. 2d at 318.
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           There is no indication Plaintiff plans to move into the Defendant's field, the development

   or monetization of podcasts. Since August 2012, Plaintiff has used its mark in commerce and in

   connection with the computer services it provides. Pl. St. 14. Plaintiff has adduced no evidence

   any consumer would see it as probable that Plaintiff would begin to develop or monetize

   podcasts using Plaintiffs Mark. The Court concludes there is no likelihood of Plaintiff bridging

   the gap and finds this factor favors the Defendant. Star Indus., Inc., 412 F.3d at 387.

              E. Actual Confusion

           It is "black letter law that actual confusion need not be shown to prevail under the

   Lanham Act, since actual confusion is very difficult to prove and the Act requires only a

   likelihood of confusion as to source." Guthrie Healthcare Sys. v. ContextMedia, Inc., 826 F.3d

   27, 45 (2d Cir. 2016) (quoting Lois Sportswear, 199 F.2d at 875). Evidence of actual confusion
                                                                         I




   may consist of consumer-survey evidence or anecdotal evidence. WIZKIDS/NECA, 2019 WL

   1454666, at *11. Courts have nevertheless concluded "the absence of such evidence may favor

   the junior user." Paco Sport, 86 F. Supp. 2d at 319. And "the absence of surveys is evidence

   that actual confusion cannot be shown." Sports Auth., Inc. v. Prime Hosp. Corp., 89 F.3d 955,

   964 (2d Cir. 1996).

           "[T]he relevant confusion to be avoided is that which affects purchasing decisions,"

   Sunenblickv. Harrell, 895 F. Supp. 616,631 (S.D.N.Y. 1995) (Newman, J.), aff'd, 101 F.3d 684

   (2d Cir. 1996), because "trademark infringement protects only against mistaken purchasing!
       '
   decisions and not against confusion generally." Lang v. Ret. Living Publ'g Co., 949 F.2d 576,

   583 (2d Cir. 1991) (citation omitted).

           Plaintiff argues "there has already been ample consumer confusion," Pl. Mem. at 1,

   pointing to eight misdirected social media posts, three unsolicited emails praising Defendant's


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   podcast from unidentified individuals, two emails from individuals mistaking Plaintiff and

   Defendant's podcast in conversation ("lny and Silverman Emails"), and one inquiry by a

   "potential new customer" of Plaintiff into whether Plaintiff was related to Defendant's podcast
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   ("Nickerson Email"), id at 12-14; Pl. St. 164. Plaintiff submitted neither evidence of consumer

   surveys nor any other evidence of lost sales. Defendant presented neither studies nor any other

   evidence contrary to a finding of consumer confusion but objects to Plaintiffs characterizatipn
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   of the presented anecdotal evidence. Def. Mem. at 31.

           Drawing all plausible inferences in favor of the Plaintiff, there is scant evidence to

   support a finding of actual confusion. Misdirected social media posts and unsolicited emails

   praising Defendant's podcast are evidence of general confusion and not mistaken purchasing

   decisions, damage to goodwill, or loss of control of reputation. Sports Auth., 89 F.3d at 963;

   Lang, 949 F.2d at 583. Plaintiff's contention the misdirected social media posts and emails l
                                                                                     •                   I




   "actively divert[ed] consumers away from ReplyAll's website," Pl. Mem. at 28, is inapposite. A

   majority of those posts were individuals interacting with Plaintiff in the mistaken belief they
                                                                          1




   were interacting with Defendant's Podcast. Accordingly, such interactions do not support an

   argument that confusion "actively divert[ed] consumers away from" Plaintiffs website.

           The Iny and Silverman Emails, in which two individuals mistake Plaintiff and

   Defendant's podcast do not sufficiently demonstrate actual confusion. The lny Email lacks

   sufficient context to determine the relationship between the sender and the Plaintiff. Pl. St. 1 65.
                                                                                                             i

   While the Silverman Email provides additional context, Ms. Silverman was not a consumer, or

   even a potential consumer of Plaintiffs product-her correspondence was with a third party in

   an unrelated business transaction. Pl. St. ,r 65.

           Plaintiff contends, without authority in the record, the confused individuals were



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   "potential investors" in Plaintiffs business. Pl. Mem. at 27. The Court draws all inferences in

   favor of Plaintiff, yet speculative conclusions unsupported by the record are not a sufficient basis

   to survive summary judgment. Fed. Deposit Ins. Corp. v. Great Am. Ins. Co., 607 F.3d 288, :292

   (2d Cir. 2010). Additionally, Plaintiff takes the position that by alleging associational confusion

   it need not present testimony from any consumer who intended to buy its product, citing Star

   Indus., 412 F.3d at 390. Plaintiff misstates the Second Circuit's holding in Star Industries. The

   holding in Star Industries cited by Plaintiff engages the question of consumer sophistication, the

   eighth Polaroid factor, rather than evidence of consumer confusion. 412 F.3d at 390. Plaintiffs
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   "evidence of actual confusion consist[s] ... [of] a number of hearsay statements by unidentified

   and unidentifiable declarants." Id at 388.

           Plaintiff has identified a single instance of potential consumer confusion with sufficient

   context to support a plausible claim for actual confusion: the Nickerson Email. See Pl. St. 165.

   However, this single instance of tenuous confusion fails to establish a plausible claim for actual
                                                                                                     i




   confusion. Critically, the extent of the confusion in the Nickerson Email is an aside with Ms.

   Nickerson inquiring whether there is a relationship between Plaintiff and the Podcast, not actual

   confusion. The Court, in light of the scant evidence for consumer confusion coupled with ~e

   lack of consumer surveys, concludes this factor is neutral. Sports Auth., 89 F.3d at 964.

              F. Bad Faith

          This factor concerns whether the Defendant "adopted its mark with the intention of:
                                                                                                 i


   capitalizing on the senior user's reputation and goodwill and any confusion between his and the

   senior user's product." Paco Sport, 86 F. Supp. 2d at 324 (quoting:Sports Auth., 89 F.3d at 964)
                                                                        I




   (internal brackets omitted).

          There is no evidence Defendant selected the Reply All mark in bad faith. Defendant



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   asserts it chose the Reply All mark because it is suggestive of the Internet and Defendant

   intended its podcast to focus on stories about the Internet. Def. St. ,r,r 3, 9. Defendant selected
                                                                                                         I



   the name "Reply All," while unaware of the existence of Plaintiff. Id         ,r,r 7-8.   Defendant

   subsequently searched the USPTO's records and discovered Plaintiff had previously registered

   its mark for use in software. Id.   ,r 10.   Defendant also consulted counsel who indicated

   Defendant's use of its mark would not be infringing. Id.      ,r 11.   Finally, the USPTO issued a valid

   registration for Defendant's Mark after and despite having issued a registration for Plaintiff's

   Mark. Id   ,r 12; REPLY ALL Registration No. 4817504.          Plaintiff contends Defendant evinced

   bad faith when it filed for the trademark after negotiating with Plaintiff over use· of "Reply All."

   Pl. Mem. at 29. The Court disagrees. Defendant could not have adopted the mark with the;

   intention of capitalizing on Plaintiffs reputation or goodwill because Defendant did not knpw

   Plaintiff existed at the time it selected the mark. Def. St. ,r 7; see also Paco Sport, 86 F. Supp. 2d

   at 324. Moreover, Defendant's actions in engaging in negotiations, seeking the advice of

   counsel, and successfully registering its mark with the UPSTO are strong indicia of good faith on

   the part of the Defendant.

           For these reasons, the Court finds Defendant adopted its Reply All mark in good faith.

   Accordingly, this Polaroid factor favors Defendant.

               G. Respective Quality

           This factor concerns "whether the senior user's [Plaintiffs] reputation could be

   jeopardized by virtue of the fact the junior user's [Defendant's] product is of inferior quality."

   Arrow Fastener Co. v. Stanley Works, 59 F.3d 384, 398 (2d Cir. 1994). The Second Circuit

   explained, "a very marked difference in quality between the two products would militate against

   finding a likelihood of confusion as consumers 'will be less likely to assume that the senior user
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   whose product is high-quality will have produced the lesser-quality products of the junior us~r."'

   Star Indus., 412 F.3d at 389 (quoting Savin Corp. v. Savin Grp., 391 F. 3d 439, 461 (2d Cir.!

   2004)). When the products are different, any similarities in quality are unlikely to cause

   consumer confusion. Paco Sport, 89 F. Supp. 2d at 326.

           Plaintiff concedes Defendant's Podcast is of high quality. Pl. Mem. at 30. Defendant

   insists Plaintiff's product is of a lower quality but asserts this position without any citation tp the

   record. Def. Mem. at 37. Though the record reflects generally weak sales and performance on
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   the part of Plaintiff, see supra footnotes 1-3, that alone is insufficient to arrive at a determination

   of poor quality. See Star Indus., 412 F.3d at 389. Accordingly, the Court finds this factor favors

   neither party.

              H. Sophistication of Customers

           "This factor examines the sophistication of the typical consumers and the level of care

   they exercise when purchasing the products at issue." Paco Sport, 86 F. Supp. 2d at 326. The

   more sophisticated a consumer, the less likely that consumer will be confused by similar m~ks

   in the marketplace. Savin Corp., 391 F.3d at 461. In analyzing consumer sophistication, courts
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   "consider[] the general impression of the ordinary purchaser, buying under the normally         i

   prevalent conditions of the market and giving the attention such purchasers usually give in!

   buying that class of goods." Star Indus., 412 F.3d at 390 (quoting Sports Auth., 89 F.3d at 965).

   "In a case involving different media vehicles, the principle groups of potentially confused :

   consumers are readers/viewers and advertisers." Parenting Unlimited Inc. v. Columbia Piqtures

   Television Inc., 743 F. Supp. 221,229 (S.D.N.Y. 1990) (Lowe, J.). "[T]he pertinent question is

   whether numerous ordinary prudent purchasers would likely be misled or confused as to the

   source of the product in question because of the entrance in the marketplace of Defendant['s]
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   mark." Savin Corp., 391 F.3d at 461 (internal quotations omitted).
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            Defendant suggests a high level of sophistication on the part of both advertisers and ~he

   general audience, while Plaintiff argues the Court should find a low level of consumer

   sophistication because "both Parties' products are offered to their audiences for free." Pl. Mem.

   at 31. However, as with many Internet companies, the revenue for Plaintiff's products com~s

   from advertisers and sponsors. Pl. St. 116, 13. Moreover, Plaintiff no longer measures the

   number of individual users of its platform, see Abramowitz Dep. 345:8-347:18, and instead has

   shifted to a revenue model focused on corporate sponsorships and revenue sharing. See id at

   187:14-21, 207:24-208:18.

            During his deposition, Zachariah Abramowitz, a co-founder and CEO of Plaintiff, stated

   Plaintiff expected to close a $1,500,000.00 transaction to host its software on a major web~ite.

   Id. at 226:20-230:8. Advertisers and sponsors prepared to enter $1,500,000.00 transactiods are

   undoubtedly "extremely sophisticated and therefore quite capable of distinguishing between"

   Plaintiff's software product and Defendant's podcast. Parenting Unlimited, 743 F. Supp. at 229.

            While some members of the public who listen to Defendant's Podcast or view Plaintiffs

   software online may be unsophisticated, the Court finds the advertisers, sponsors, and

   "purchasers" of Plaintiffs and Defendant's products more likely than riot to include individuals

   who are highly sophisticated. Savin Corp., 391 F.3d at 461; Parenting Unlimited, 743 F. Supp.

   at 229. This factor favors the Defendant.

      II.      Balancing the Factors

            "In balancing the Polaroid factors, courts generally should not treat any single factor as

   dispositive; nor should a court treat the inquiry as a mechanical process by which the party with

   the greatest number of factors wins. Instead, the court should focus on the ultimate question of
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  whether consumers are likely to be confused." Nat. Organics, Inc. v. Nutraceutical Corp., 426

  F.3d 576, 578 (2d Cir. 2005) (internal quotation marks omitted). A majority of the Polaroid

  factors favor the Defendant and the remainder are neutral. The Court finds consumers searching

  for conversation-enhancing software are unlikely to be confused by the existence of a podcast

  bearing the same name. There is no likelihood of consumer confusion between Plaintiffs Mark

  and Defendant's Mark on the part of consumers. See id

            Plaintiffs claim for reverse confusion also fails. Given the substantial differences in

  Plaintiffs and Defendant's products and their respective markets, the record does not support a

  reasonable inference of reverse confusion, which "is the misimpression that the junior user is the

  source of the senior user's goods." Banff, Ltd. v. Federated Dep 't Stores, Inc., 841 F .2d 486, !490

  (2d Cir. 1988). Furthe~, based on the record, the Court cannot find a "reasonable inference that

  [Defendant] intended to promote such confusion." Black Diamond Sportswear, Inc. v. Black

  Diamond Equip., Ltd, 06-3508-CV, 2007 WL 2914452, at *4 (2d Cir. Oct. 5, 2007).
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            Accordingly, Defendant's motion for summary judgment on all of Plaintiffs Lanham Act

  claims is granted.

     III.      State Law Claims

            Plaintiff also asserts claims for common law reverse confusion. This Court grants

  Defendant's motion for summary judgment on those claims. To prevail on its common law

  claim of reverse confusion, Plaintiff must demonstrate a "likelihood of confusion as to the source

  or sponsorship of defendant's products," Standard & Poor 's Corp., v. Commodity Exch., Inc.,

  683 F.2d 704, 708 (2d Cir. 1982), which is assessed under the same confusion standard as for

  infringement under the Lanham Act, WIZKIDS/NECA, 2019 WL 1454666 at * 15 (citation




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   omitted). As Plaintiff has failed to meet this standard, its common law reverse confusion claim

   fails.

       IV.      Remaining Issues

             The Court grants Defendant's motion for summary judgment on all counts. The Court

   has reviewed the Plaintifrs motion for summary judgment and finds it to be without merit.

                                            CONCLUSION

             For the foregoing reasons, Defendant's motion for summary judgment, ECF No. 88, is

   GRANTED. The Clerk of Court is respectfully directed to terminate all pending motions and

   close this case.


                                                       SO ORDERED.

                                                                      s/WFK
                                                       HON. WILLIAM F. K - T , II
                                                       UNITED STATES DISTRI T JUDGE

   Dated: February 12, 2020
          Brooklyn, New York




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